         Case 1:05-cv-01971-RMC Document 300 Filed 04/19/13 Page 1 of 1



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

_______________________________________

MOHAMMED AL-QAHTANI,

       Petitioner,
                                                                Case No. 05-CV-1971 (RMC)
       v.

BARACK H. OBAMA, et al.,

       Respondents.



                                            NOTICE OF FILING


       PLEASE TAKE NOTICE that today I filed ex parte under seal a Motion for Leave to file

Status Report Ex Parte Under Seal together with its proposed ex parte sealed Status Report, in

response to this Court’s Minute Order of December 3, 2012, by causing paper copies to be sent

by courier in a sealed envelope for delivery today to the Clerk of Court pursuant to Local Civil

Rule 5.1(j).

Dated: April 19, 2013                                  Respectfully submitted,

                                                               /s/
                                                       Shayana Kadidal (D.C. Bar No. 454248)
                                                       UNIVERSITY OF MICHIGAN LAW SCHOOL 1
                                                       [until May 6, 2013]
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